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                             Noemie Assuied Hodara
                    Attorney at Law, New York and Paris Bars


                                                       Audrey GADOT
                                                       Attorney at Law
                                                       15 Boulevard du Sud Est
                                                       92000 Nanterre

                                                       Paris, July 19, 2022

Case: Heidi BROWN/ Arnaud PARIS
By email: gadotaudreyavocat@gmail.com



Dear colleague,

I hereby officially confirm the terms of the agreement reached by our clients, Mrs. Heidi
BROWN and Mr. Arnaud PARIS, to wit:

•    Departure of Heidi to Ashland with Eva and Juliette, their daughters, as of July 20, 2022
     for the summer vacation.

     Return on August 23, 2022 if the conditions required for the family's move to Ashland
     were not met by August 22,

•    Joint lifting of opposition to leaving the country (OST) by parents on July 20, 2022.

""   Relocation of the family to Ashland for the 2022/2023 school year in accordance with the
     school calendar of the school to which the children will be assigned, subject to the
     following conditions being met by August 22, 2022:

        -   Arnaud's medical care:

                o    Heidi and Arnaud agree to take all necessary steps to obtain permanent
                     medical insurance coverage for Arnaud's condition-Biermer's
                     disease-(public or private) as of today (July 19, 2022).
                o    If Arnaud is ineligible for OHP (Oregon Health Plan), Heidi and Arnaud
                     agree to purchase permanent private insurance.
                o    Arnaud agrees to sign said insurance contract before August 22, 2022,
                     even if it does not take effect until September 1, 2022 ..




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            Please note that, in the context of this coverage, the unreimbursed medical
            expenses will have to be within the limit of Heidi's financial capacity (which
            excludes any recourse to a bank loan).

        -   A medical appointment in principle for Arnaud with a gastroenterologist in the
            state of Oregon was made in mid-October

        -   House: signing of a lease for a 3-bedroom house+ 1 office;

        -   Heidi's office: signing of a lease for an office (or subscription to a coworking
            space)

        -   Au pair:

               o     Confirmation by Elisa that she will arrive in Ashland by September 30,
                     2022;
               o     Alternatively: recruitment of a nanny and a French tutor for the girls.


If the above conditions are met by August 22, 2022:




►   La The children's residence will be set in Ashland for the 2022/2023 school year;

►   The children's residence will then be transferred to France in September 2023 and back
    to the United States in September 2024.

    The parents agree to continue this alternation of residency from one year to the next,
    provided that it is in the best interest of the children.

►   Arnaud will travel to the United States to live from August 23 to September 3, 2022. He
    will then temporarily return to France, including for surgery, on October 3, 2022.


However, should Arnaud's medical prognosis following surgery on October 3, 2022 require
further emergency hospitalization (as per a statement from his treating physician) :

    -   Heidi will have to establish that an American doctor of the same level as the one who
        follows Arnaud in France will be able to immediately take over his medical follow-up
        in Oregon;
    -   Otherwise, the family will return to France.



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In view of the family's move, the parties have detailed their future monthly budget
hereunder as an estimate:

                         Expense                            Monthly amount in USD
Phone (both parents)                                                             100
Housing                                                                         3500
Car insurance                                                                     90
GAZ                                                                              200
Utilities (water, electricity, gaz}                                              200
Internet                                                                          so
Food                                                                             800
Au Pair                                                                         2000
Clothing                                                                         400
Leisure (family time)                                                            500
Girls' extracurricular activities                                                100
Flights (Arnaud's trips}                                                        1500
Hygiene (haidresser, phamarcy, etc ... }                                         150
Real estate mortgage                                                            2000
Car leasing                                                                      900
                                                TOTAL                          12490


The parties specify that:

    -   They will each contribute half of these expenses;
    -   In addition, Heidi will pay Arnaud's medical expenses (medical coverage and
        remaining expenses) as previously discusse.



            ***

Ms. BROWN'S agreement is conditional upon Mr. PARIS' agreement to all of these
provisions, which I would be grateful if you could confirm to me through the official
channels.

Yours faithfully.

                                             Noemie ASSUIED HODARA
                                             Attorney at law at the Paris and New York Bars




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                           Noemie Assuied Hodara
                 Avocat aux Barreaux de New York et de Paris


                                                        Audrey GADOT
                                                        Avocat ala Cour
                                                        15 Boulevard du Sud Est
                                                        92000 Nanterre

                                                        Paris, le 19 juillet 2022

Aff. : Heidi BROWN/ Arnaud PARIS
Par mail : gadotaudreyavocat@gmail.com

Mon Cher Confrere,

Je vous confirme, par la presente, de maniere officielle, les termes de !'accord auquel sont
parvenus nos clients, Madame Heidi BROWN et Monsieur Arnaud PARIS, asavoir :

•     Depart de Heidi pour Ashland avec Eva et Juliette, leurs filles, acompter du 20 juillet 2022
      pour les vacances d'ete.

      Retour au 23 aoOt 2022 si les conditions requises pour le demenagement de la famille a
      Ashland n'etaient pas reunies d'ici le 22 ao0t 2022.


•     Levee conjointe de !'OST par les parents le 20 juillet 2022.

•                                    a
      Demenagement de la famille Ashland pour l'annee scolaire 2022/2023 conformement
      au calendrier scolaire de l'etablissement dont les enfants dependront, sous reserve de la
      reunion des conditions suivantes d'ici le 22 ao0t 2022:

         -   Prise en charge medicate d' Arnaud :

                 o   Heidi et Arnaud s'engagent a entreprendre des ce jour (le 19 juillet 2022)
                     !'ensemble des demarches necessaires a la souscription a une assurance
                     medicale permanente prenant en charge sa pathologie - maladie de
                     Biermer - (publique ou privee) pour Arnaud.
                 o   Si Arnaud est ineligible al'OHP (('assurance publique de l'Etat de !'Oregon),
                     Heidi et Arnaud s'engagent asouscrire une assurance privee permanente.
                 o   Arnaud s'engage a signer ledit contrat d'assurance avant le 22 aoOt 2022, y
                     compris si celui-ci ne prend effet qu'a compter du 1er septembre 2022.



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            Precisons que, dans le cadre de cette prise en charge, les frais medicaux non
            rembourses devront entrer dans la limite de la capacite de financement d'Heidi (ce
            qui exclut tout recours aun pret bancaire).

        -   Prise d'un rdv medical de principe mi-octobre pour Arnaud avec un gastro-
            enterologue dans l'Etat de !'Oregon

        -   Maison : signature d'un bail pour une maison de 3 chambres + 1 bureau ;

        -   Bureau Heidi : signature d'un bail pour un bureau (au abonnement a un espace de
            coworking) ;

        -   Jeune fille au pair :

                o   Confirmation par Elisa de son arrivee aAshland au plus tard le 30 septembre
                    2022;
                o   Alternativement : recrutement d'une nounou et d'un tuteur en franc,:ais
                    pour les filles.


Si les conditions ci-dessus sont reunies au 22 ao0t 2022 :



►   La residence des enfants sera fixee aAshland pour l'annee scolaire 2022/2023 ;

►   La residence des enfants sera ensuite transferee en France a la rentree de septembre
    2023, puis de nouveau aux Etats-Unis en septembre 2024.

    Les parents s'engagent apoursuivre cette alternance d'une annee sur l'autre, sous reserve
    que cela soit dans l'interet des enfants.

►   Arnaud voyagera aux Etats-Unis pour s'y installer du 23 ao0t au 3 septembre 2022. II
    rentrera ensuite temporairement en France, notamment pour y subir une operation
    chirurgicale, le 3 octobre 2022.


Cependant, si le pronostic medical al'issue de !'operation d' Arnaud en date du 3 octobre 2022
necessitait d'autres hospitalisations en urgence (conformement a un ecrit du medecin qui le
suit):

    -   Heidi devra etablir qu'un medecin americain du meme niveau que celui qui suit Arnaud
        en France pourra reprendre immediatement la main sur son suivi medical en Oregon ;
    -   A defaut, la famille rentrera en France.

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Dans la perspective du demenagement de la famille, les parties ant tenu adetailler atitre
indicatif leur budget mensuel avenir ci-dessous :

                         Expense                         Monthly amount in USO
Phone (both parents)                                                            100
Housing                                                                        3500
Car insurance                                                                    90
GAZ                                                                             200
Utilities (water, electricity, gaz)                                             200
Internet                                                                         50
Food                                                                            800
Aupaire                                                                        2000
Clothing                                                                        400
Leisure (family time)                                                           500
Girls' extracurricular activities                                               100
Flights (Arnaud's trips)                                                       1500
Hygiene (haidresser, phamarcy, etc ... )                                        150
Emprunt immo                                                                   2000
Leasing voiture                                                                 900
                                               TOTAL                         12490


Les parties precisent que :

   -   Elles prendront en charge ces depenses aconcurrence de moitie chacune ;
   -   En outre, Heidi reglera les frais medicaux (couverture medicale et reste a charge)
       d' Arnaud com me vu precedemment.



           ***

L'accord de Madame BROWN est conditionne par l'accord de Monsieur PARIS sur !'ensemble
de ces dispositions, que je vous remercie de bien vouloir me confirmer par la voie officielle.

Votre bien devouee.



                                           Noemie ASSUIED HODARA
                                           Avocat aux Barreaux de Paris et de New York




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